     Case 3:19-cv-00366-MMD-CLB Document 38 Filed 07/31/20 Page 1 of 2




1

2

3                             UNITED STATES DISTRICT COURT
4                                    DISTRICT OF NEVADA
5                                               ***
6     MICHAEL LEON WILLIAMS,                          Case No. 3:19-cv-00366-MMD-CLB
7                                     Petitioner,
                                                                    ORDER
8            v.
9
      WILLIAM GITTERE, et al.,
10
                                  Respondents.
11

12

13         In this habeas corpus action, Respondents filed a motion to dismiss (ECF No. 21)
14   on March 4, 2020. The pro se petitioner, Michael Leon Williams, filed a response to the
15   motion to dismiss (the “MTD”) (ECF No. 34) on July 21, 2020. Respondents’ reply, in
16   support of their MTD, is due August 20, 2020. (ECF No. 3.)
17         On July 21, 2020, Williams filed a “Motion for Order to Proceed on Response to
18   Respondents’ Motion to Dismiss” (ECF No. 35), but the Court will deny it as unnecessary.
19   The Court already received Williams’ response to the MTD, considers it timely filed, and
20   will take it into consideration when addressing the MTD.
21         On July 27, 2020, Williams filed a motion (ECF No. 37) requesting a file-stamped
22   copy of the motion he filed on July 21, 2020. The Court will grant that motion.
23         It is therefore ordered that Petitioner’s “Motion for Order to Proceed on Response
24   to Respondents’ Motion to Dismiss” (ECF No. 35) is denied as unnecessary.
25

26

27

28
     Case 3:19-cv-00366-MMD-CLB Document 38 Filed 07/31/20 Page 2 of 2



1

2          It is further ordered that Petitioner’s motion (ECF No. 37) is granted. The Clerk of

3    the Court is directed to send Petitioner a copy of the motion he filed on July 21, 2020

4    (ECF No. 35).

5          DATED THIS 31st day of July 2020.
6
                                             MIRANDA M. DU
7                                            CHIEF UNITED STATES DISTRICT JUDGE
8

9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28


                                                2
